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                                                       GEORGIA



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                     CORPORATIONS                                                                             BRAD
                     DIVISION                                                                       RAFFENSPERGER

                                                                                                                             HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        WAL-MART STORES
                    Business Name:                                                 Control Number: 0150520
                                        EAST, LP (DELAWARE)
                                        Foreign Limited
                     Business Type:                                                  Business Status: Active/Compliance
                                        Partnership
                  Business Purpose: NONE
                                    702 SW 8th St.,
                                                                                Date of Formation /
          Principal Office Address: Bentonville, AR, 72716,                                         11/16/2001
                                                                                 Registration Date:
                                    USA
                                                                           Last Annual Registration
                         Jurisdiction: Delaware                                                     2023
                                                                                              Year:
         Principal Record Address: NONE



        REGISTERED AGENT INFORMATION

          Registered Agent Name: THE CORPORATION COMPANY (FL)
                  Physical Address: 106 Colony Park Drive Ste. 800-B, Cumming, GA, 30040-2794, USA
                             County: Forsyth



        GENERAL PARTNER INFORMATION

         Name                                 Title                    Business Address

         WSE MANAGEMENT,, LLC                 General Partner          702 SW 8th Street, Bentonville, AR, 72716, USA



                                                      Filing History       Name History
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     Office of the Georgia Secretary of State Attn: 2 MLK, Jr. Dr. Suite 313, Floyd West Tower Atlanta, GA 30334-1530,
                      Phone: (404) 656-2817 Toll-free: (844) 753-7825, WEBSITE: https://sos.ga.gov/
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https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=107367&businessType=Foreign Limited Partnership&fromSearch=True   1/1
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                     CORPORATIONS                                                                             BRAD
                     DIVISION                                                                       RAFFENSPERGER

                                                                                                                             HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        WSE MANAGEMENT,
                    Business Name:                                                 Control Number: 0206279
                                        LLC
                                        Foreign Limited
                     Business Type:                                                 Business Status: Active/Compliance
                                        Liability Company
                  Business Purpose: NONE
                                    702 SW 8th St.,
                                                                                Date of Formation /
          Principal Office Address: Bentonville, AR, 72716,                                         2/5/2002
                                                                                 Registration Date:
                                    USA
                                                                          Last Annual Registration
                        Jurisdiction: Delaware                                                     2023
                                                                                             Year:
         Principal Record Address: NONE



        REGISTERED AGENT INFORMATION

          Registered Agent Name: THE CORPORATION COMPANY (FL)
                  Physical Address: 106 Colony Park Drive Ste. 800-B, Cumming, GA, 30040-2794, USA
                             County: Forsyth


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https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=119434&businessType=Foreign Limited Liability Company&fromSearch=True 1/1
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  Department of State: Division of Corporations
                                                                                                                                                                    Allowable Characters

  HOME
                                                                                                                     Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     11/9/2001
                                                           File Number:                 3455699
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 WAL-MART STORES EAST, LP

                                                                                        Limited
                                                           Entity Kind:                                                Entity Type:    General
                                                                                        Partnership

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        THE CORPORATION TRUST COMPANY

                                                           Address:                     CORPORATION TRUST CENTER 1209 ORANGE ST

                                                           City:                        WILMINGTON                          County:    New Castle

                                                           State:                       DE                           Postal Code:      19801

                                                           Phone:                       302-658-7581


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

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  Department of State: Division of Corporations
                                                                                                                                                                    Allowable Characters

  HOME
                                                                                                                     Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     11/9/2001
                                                           File Number:                 3455670
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 WSE MANAGEMENT, LLC

                                                                                        Limited
                                                           Entity Kind:                 Liability                      Entity Type:    General
                                                                                        Company

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        THE CORPORATION TRUST COMPANY

                                                           Address:                     CORPORATION TRUST CENTER 1209 ORANGE ST

                                                           City:                        WILMINGTON                          County:    New Castle

                                                           State:                       DE                           Postal Code:      19801

                                                           Phone:                       302-658-7581


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

                                                            Submit


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